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                     ARGUMENT NOT SCHEDULED

                              NO. 23-3228

             IN THE UNITED STATES CIRCUIT COURT
                FOR THE DISTRICT OF COLUMBIA
                ____________________________________

                     UNITED STATES OF AMERICA,
                                Appellee,
                                    v.
                          DONALD J. TRUMP,
                               Appellant.
                ____________________________________

   ON APPEAL FROM THE UNITED STATES DISTRICT COURT
            FOR THE DISTRICT OF COLUMBIA
           ______________________________________

      AMICI CURIAE BRIEF OF FORMER OFFICIALS IN FIVE
     REPUBLICAN ADMINISTRATIONS, ET AL., SUPPORTING
                     APPELLEE AND AFFIRMANCE

December 12, 2023

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 CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES
       Pursuant to D.C. Circuit Rule 28(a)(1), amici curiae submit this

certificate as to parties, rulings, and related cases.

       A. Parties and Amici

       The parties are Donald Trump and the United States of America.

The amici are set forth in Appendix A to this brief. Counsel is not aware

of any other amici who, on the immunity issue, participated in the

District Court or intend to participate in this Court.

       B. Rulings Under Review

       References to the rulings at issue appear in this brief. The rulings

by District Court Judge Chutkan under review are District Court

Docket Numbers 171 and 172.

       C. Related Cases

       D.C. Cir. Docket No. 23-3190 was an appeal from an earlier order

of the District Court concerning extrajudicial statements. D. Ct. Dkt.

105.

       December 12, 2023                   /s/ Richard D. Bernstein




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                     INTEREST OF AMICI CURIAE

     Amici listed in Appendix A include former officials who have

worked in five Republican administrations from Presidents Nixon to

George W. Bush, served as elected Republican officials, are constitutional

scholars, and others who support a strong Presidency.1 Reflecting their

experience, amici have an interest in a strong Presidency where each

elected President serves only the term or terms to which he or she has

been elected. Amici speak only for themselves personally, and not for any

entity or other person.

          INTRODUCTION AND SUMMARY OF ARGUMENT

     Rejection of absolute immunity in this case is essential to protecting

Article II’s design of the Presidency itself. Former President Trump has

argued that if absolute immunity does not protect his alleged criminal

conduct in this case,2 then necessarily every former President may be

prosecuted for exercising supervisory and policy responsibilities, firing


1    Amici state that no counsel for any party authored this brief in
whole or in part and that no entity, aside from amici and their counsel,
made any monetary contribution toward the preparation or submission
of this brief.
2    In this brief, “criminal conduct” refers to conduct that meets every
required element of a federal criminal statute, including mens rea.


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Cabinet members, allegedly lying in communications to Congress, or

using lethal force abroad. See D. Ct. Dkt. No. 122, at 12-15. This is a vast

overstatement for a number of reasons. These reasons include that

federal criminal statutes require mens rea and particular acts.

      This amici brief demonstrates another reason. One of the bases to

affirm focuses on the specific category of crimes alleged against the

former President here—engaging in criminal conduct in post-election

efforts to subvert the presidential election results. None of the former

President’s hypotheticals about prosecutions in other contexts involves

an outgoing President’s criminal efforts to prevent what Article II

mandates—the vesting of the authority and functions of the Presidency

in the next, lawfully-elected President.

      A core allegation of the Indictment is that Mr. Trump knew that it

was false to say there had been “outcome-determinative voting fraud in

the [2020] election,” but nonetheless engaged in criminal lies and

conspiracies “to overturn the legitimate results of the 2020 presidential

election and retain power.” 3 Under these allegations, former President


3     Indictment (D. Ct. Dkt. No. 1), ¶¶ 2, 4, 7-8; see also, e.g., id. at ¶¶10-
13, 15, 19-20, 22, 25, 29-33, 35-37, 41, 45-46, 50, 52, 56, 64, 66-67, 70, 74,
77, 81, 83, 86, 90, 92, 99-100, 102, 104, 116, 118. Amici do not address

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Trump’s criminal conduct was directed to usurping the authority and

functions of the Presidency for the current term to which President Biden

was legitimately elected. That constitutes an alleged effort to violate

Article II, Section 1, Clause 1, also called the Executive Vesting Clause.

That is an attack on Article II’s very design for the Presidency itself.

     Former President Trump’s alleged effort to usurp the Presidency

presents an especially weak case for extending the doctrine of

presidential immunity to a criminal case. The last thing presidential

immunity should do is embolden Presidents who lose re-election to

engage in criminal conduct, through official acts or otherwise, as part of

efforts to prevent the vesting of executive power required by Article II in

their lawfully-elected successors. The scope of immunity proposed by

former President Trump would turn Nixon v. Fitzgerald, 457 U.S. 731

(1982), on its head by encouraging the greatest possible threat of

“intrusion on the authority and functions of the Executive Branch,” id. at

754 — a losing President’s efforts to usurp the authority and functions of

a duly-elected successor President.



any defense former President Trump has asserted or may assert, other
than absolute immunity.


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      The District Court rejected former President Trump’s argument

that a President’s absolute immunity from civil damages for official acts

under Nixon v. Fitzgerald, 457 U.S. 731 (1982), also applies to federal

criminal prosecution of a former President. D. Ct. Dkt. No. 171. Amici

agree with this ruling. Amici also agree with Blassingame v. Trump, No.

22-5069, 2023 WL 8291481 (D.C. Cir. Dec. 1, 2023) (“Blassingame”), that

President Trump “engaged in his campaign to win re-election – including

his post-election efforts to alter the declared results in his favor – in his

personal capacity as presidential candidate, not in his official capacity as

sitting President.” E.g., id. at *2 (emphasis added).

      One factor on which the District Court relied was that it “would

betray the public interest” to give a former President “a categorical

exemption from criminal liability” for allegedly “attempting to usurp the

reins of government.” D. Ct. Dkt. No. 171, at 24-25. This amici brief will

demonstrate that this ground by itself provides one of the bases to affirm.

See Meza v. Renaud, 9 F.4th 930, 933 (D.C. Cir. 2021) (on a “legal

question . . . [,] we generally may affirm on any ground supported by the




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record”). 4 Under this basis, this Court should affirm regardless of

whether there may be presidential immunity for official acts in some

other criminal contexts and whether any of the alleged criminal conduct

of former President Trump may be an official act.

      Preservation of the Presidency designed by Article II requires

rejection of immunity from prosecution for a President’s use of criminal

conduct in efforts to alter declared election results, whether that conduct

consists of acts as a candidate, official acts, or both. Here, for example,



4      The District Court’s reliance on attempted usurpation, the
Indictment’s allegations of attempted usurpation, and the government’s
arguments that there is no immunity from criminal prosecution for a
former President generally or in this case all provide ample grounds to
affirm on the basis that any immunity a former President may have from
criminal prosecution does not apply to allegations that he or she engaged
in criminal conduct in an attempt to usurp the Presidency. See Dahda v.
United States, 138 S. Ct. 1491, 1498 (2018) (affirming conviction based
“upon an argument that the Government did not make below”); Greenlaw
v. United States, 554 U.S. 237, 250 & n.5 (2008) (Court may affirm based
on a “novel” legal argument “presented for the first time in a brief amicus
filed in this Court”); Jenkins v. Washington Convention Center, 236 F.3d
6, 8 n.3 (D.C. Cir. 2001) (this “court may affirm the district court on
grounds different from those relied upon by the district court”); see also
Thigpen v. Roberts, 468 U.S. 27, 29-30 (1984) (affirming based on legal
argument that circuit court did not address); Schweitzer v. Hogan, 457
U.S. 569, 585 n.24 (1982) (sustaining district court’s judgment based on
a legal argument that was “not presented in the District Court”).


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the former President argues that he was acting officially when he

allegedly conspired to commit criminal conduct by enlisting Department

of Justice personnel to make false statements to state officials to support

his efforts to overturn declared state election results. Indictment, ¶¶ 70,

75, 78-79, 84. If that conduct qualified for absolute immunity, this would

improperly unleash a future President to disregard current criminal

statutes and deploy the military in efforts to alter the results of a

presidential election. See Part II.B., infra.

      Instead, to deter future attempts to violate the Executive Vesting

Clause, this Court should reject Mr. Trump’s claim of an absolute

immunity so broad that it would bar prosecution of a first-term President

who employed criminal conduct to overturn election results. In this vital

context, rejection of criminal immunity for both unofficial and official acts

is necessary to protect the “public interest,” Nixon v. Fitzgerald, 457 U.S.

at 754 n.37, in government by the People that the Executive Vesting

Clause guarantees.

      The District Court also rejected the former President’s additional

argument that a former President is immune from criminal prosecution

for conduct while in office unless that President was impeached by the



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House and convicted by the Senate. Amici agree with that rejection but

do not address it in this brief.

                                   ARGUMENT

I.    A PRESIDENT WHO LOSES RE-ELECTION BUT MAKES
      EFFORTS TO STAY BEYOND HIS TERM IS ATTEMPTING TO
      VIOLATE THE EXECUTIVE VESTING CLAUSE.

      Article II, Section 1, Clause 1 of the Constitution provides:

            The executive Power shall be vested in a President
            of the United States of America. He shall hold his
            Office during the Term of four Years, and, together
            with the Vice President, chosen for the same Term,
            be elected, as follows


(Emphases added). This Executive Vesting Clause creates the only

Presidency we have under our Constitution.

      The second sentence of the Clause requires a first-term President

who loses re-election to leave office at the end of his term. This was an

important    selling   point   during       ratification.   The    Constitutional

Convention initially adopted provisions of a draft Constitution that

would have elected a President for a single seven-year term and made

each President ineligible for re-election. 1 M. Farrand ed., Records of the

Federal Convention, 64, 68-69 (1911). The Convention later switched

course and framed a Constitution that enabled a President to seek re-

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election, but the Executive Vesting Clause limited every presidential

term to four years.

      This major change was explained by Edmund Randolph, who was a

delegate at both the Constitutional Convention and the Virginia

Ratifying Convention.5 Randolph explained to the Virginia Ratifying

Convention that, at the Constitutional Convention, his original position

was “that the reeligibility of the President was improper.” 3 J. Elliot ed.,

The Debates in the Several State Conventions 485 (2d ed. 1888). He

“altered [his] opinion” and subsequently defended the Constitution’s

permission for re-election by relying on the mandates of the Executive

Vesting Clause. Id. at 485-86. He stated that a sitting President “may

[not] hold his office without being reelected. He cannot hold it over four

years, unless he be reelected, any more than if he were prohibited [from

running].” Id. at 486. Randolph stated that a President who loses re-

election is “displaced at the end of the four years” by the Executive

Vesting Clause. Id. at 486.




5    At both times, he was also Governor of Virginia. He would later be
President George Washington’s first Attorney General and second
Secretary of State.


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      As Chief Justice Marshall put it, “the president . . . , on the

expiration of the time for which he is elected, returns to the mass of the

people again.” United States v. Burr, 25 F. Cas. 30, 34 (C.C.D. Va. 1807)

(Marshall, Circuit Justice) (quoted in Blassingame, at *12). As Section 1

of the subsequent Twentieth Amendment reiterated: “The terms of the

President and the Vice-President shall end at noon on the 20th day of

January . . .; and the terms of their successors shall then begin.”

(Emphases added).

      Presidents from John Adams to George H.W. Bush who lost re-

election obeyed the Executive Vesting Clause by peacefully transferring

the powers of the Presidency to their elected successors. As was written

in The Heritage Foundation’s Guide to the Constitution before the 2020

election: “It should be noted that the four-year limitation is absolute, and

every president (no matter how disputed the election results may have

been) has always turned the office over to his successor on the appointed

day . . . .” D. Forte, Presidential Term, Article II, Section 1, Clause 1,

available                                                                  at

https://www.heritage.org/constitution/#!/articles/2/essays/77/presidentia

l-term.



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      In contrast, any President who loses re-election, but engages in

efforts to usurp the office of the Presidency beyond his four-year term,

would be threatening to violate the Executive Vesting Clause in two

inseparable ways. First, that President would be threatening to extend

the four-year term – and only four years – in which executive power has

been vested by election in that President. Second, that President would

be threatening to prevent the vesting of the authority and functions of

the Presidency in the newly-elected President. These are assaults upon

the Presidency created by Article II.

      The recent proffer in Georgia of Jenna Ellis, a lawyer for President

Trump’s 2020 campaign, describes a stark attempt to violate the

Executive Vesting Clause. According to the proffer of Ms. Ellis, on

December 19, 2020, she discussed the former President’s numerous court

losses with Dan Scavino, the Deputy White House Chief of Staff. A

Gardner & H. Bailey, Ex-Trump allies detail effort to overturn election

in Georgia plea videos, Washington Post (Nov. 13, 2023).6 According to




6     Available      at  https://washingtonpost.com/national-security/
2023/11/13/trump-georgia-case-videos-overturn-2020-election/ (linking
to proffer video).


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the proffer video, Mr. Scavino responded: “Well, we don’t care, and we’re

not going to leave . . . . [T]he boss is not going to leave under any

circumstances. We are just going to stay in power.” Id.

      Former President Trump’s immunity appeal in effect argues that a

former President who employed criminal conduct in efforts to retain

power contrary to the Executive Vesting Clause nonetheless has absolute

immunity. Part II of this brief demonstrates one basis why this is wrong.

II.   ABSOLUTE IMMUNITY DOES NOT PROTECT A
      PRESIDENT’S USE OF CRIMINAL CONDUCT TO ALTER
      PRESIDENTIAL ELECTION RESULTS.

      A.     Protecting The Presidency Designed By Article II Requires
             Rejecting Absolute Immunity For Criminal Efforts To
             Overturn Presidential Election Results.

      Blassingame, at *1-2, 12-15, recognized that the presidential re-

election context disfavors even civil immunity for a President. The

presidential re-election context also presents the weakest case for

creating any criminal immunity for a former President, including for

official acts.

      As the District Court stated, former President Trump is charged

with criminal efforts to subvert his re-election loss and “usurp the reins

of government.” Docket No. 171, at 25. What kind of Constitution would



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immunize and thereby embolden losing first-term Presidents to employ

criminal conduct—through either official or unofficial acts—in efforts to

usurp a second term? Not our Constitution with the Executive Vesting

Clause’s clear mandate: four years, you lose re-election, you get out, and

the Presidency is vested in your successor. Indeed, George Washington’s

Farewell Address stated that it would “destroy[]” our constitutional

system if “cunning, ambitious, and unprincipled men will be enabled to

subvert the power of the people and usurp for themselves the reins of

government.” Washington’s Farewell Address, at 14 (1796).7 Nothing in

our Constitution, or any case, supports former President Trump’s

dangerous argument for criminal immunity.

      Nixon v. Fitzgerald addressed immunity from civil damages for

firing a federal employee. The plaintiff did not and could not allege that

his firing had anything to do with presidential election results. The

reasoning of Nixon v. Fitzgerald was that the Court “must balance the

constitutional weight of the interest to be served [by civil damages]

against the dangers of intrusion on the authority and functions of the



7     Available      at
                    https://www.govinfo.gov/content/pkg/GPO-CDOC-
106sdoc21/pdf/GPO-CDOC-106sdoc21.pdf.


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Executive Branch.” 457 U.S. at 754. The Court cautioned that “[i]n

defining the scope of an official’s absolute privilege, . . . the sphere of

protected action must be related closely to the immunity’s justifying

purposes.” Id. at 755.

      Nixon v. Fitzgerald reserved deciding whether presidential

absolute immunity applies at all in the criminal context, much less in

which cases. So did Blassingame. See 2023 WL 8291481, at *2 (not

addressing “whether and when a President might be immune from

criminal prosecution”). Nixon v. Fitzgerald explained that this

reservation was because at least one side of the requisite balancing would

carry different weight: “[t]he Court has recognized . . . that there is a

lesser public interest in actions for civil damages than, for example, in

criminal prosecutions.” Nixon v. Fitzgerald, 457 U.S. at 754 & n.37.

      In Trump v. Vance, 140 S. Ct. 2412 (2020), then-sitting President

Trump sought an immunity from a grand jury subpoena concerning

conduct outside his official duties. Justice Kavanaugh’s concurrence

reiterated that a court must balance interests when a sitting or former

President seeks an immunity in a new context. In that case, the Court

had to “balance” the “interests of the criminal process and the Article II



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interests of the Presidency.” Id. at 2432. In Vance, as in Nixon v.

Fitzgerald, “the Article II interests of the Presidency” were entirely on

the side of the sitting or former President.

      In marked contrast to those cases and the hypotheticals relied upon

in the former President’s briefs below, the current case involves a

prosecution for a President’s alleged criminal conduct that threatened

the most serious “intrusion on the authority and functions of the

Executive Branch.” Nixon v. Fitzgerald, 457 U.S. at 754. That is, an

outgoing President allegedly engaged in criminal efforts to usurp the

functions and authority of a lawfully-elected successor President. In this

new and different context, protecting Article II’s Executive Vesting

Clause is vital. Here, both the interests of the criminal process and

protecting the Article II interests of the Presidency support legal

accountability and oppose absolute immunity.

      To be clear, amici are not advocating individual case-by-case

balancing. This case presents an entirely different category that Nixon v.

Fitzgerald did not and could not decide – immunity that would encourage

a President to employ criminal conduct to usurp the Presidency itself.




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Nixon v. Fitzgerald addressed only the category where a President

allegedly injures “individuals” who sue for damages. Id. at 754 n.37.

      There is a fundamental difference between the category of Nixon v.

Fitzgerald and the category of this case as to which side has the support

of the Article II interests of the Presidency. A village is not saved by

destroying it. So too, the functions and authority of the elected Presidency

would be imperiled—not preserved—by an immunity so boundless that

it would encourage Presidents who lose as candidates for re-election to

employ criminal conduct in efforts to prevent the Presidency’s functions

and authority from being vested in their lawfully-elected successors.

      Even assuming presidential immunity might appropriately be

applied to some categories of criminal prosecutions, immunity should not

extend to the particular category at issue here. The Executive Vesting

Clause uniquely protects the Presidency by specifying who is vested with

executive powers. Under the “balance” of interests approach in Nixon v.

Fitzgerald and Vance, supra at 13-14, the interests supporting a criminal

prosecution of a former President could not be stronger than in the

category of cases that protects Article II’s assignment of “who” is vested

with executive powers. Although amici believe that the balance of



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interests also plainly opposes absolute immunity in a criminal category

about “how” executive powers were executed, the Executive Vesting

Clause provides an independent basis for denying immunity in the “who”

category of criminal cases.

      First, the “who” category protects the Presidency itself. Presidential

immunity is designed to protect Article II interests, including enabling a

decisive and even bold President in the execution of his or her powers.

But with respect to the Executive Vesting Clause, there are powerful

Article II interests against immunity. This is because Article II itself is

deeply concerned with ensuring that “who” is President is the person

elected pursuant to Article II, not the person self-servingly determined

by a sitting President. “The presidency itself has no institutional interest

in who will occupy the office next.” Blassingame, at *13 (emphasis added).

There is thus no constitutional value in encouraging bold and decisive

official or unofficial acts by a President to seize control of the office

beyond the term to which he or she has been elected.

      Second, the “who” category protects Article II’s design for

presidential elections. To start, the Executive Vesting Clause ensures

government by the People by mandating that a first-term President



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leaves at the end of a four-year term when the People have elected

someone else for the next term. 8 As the Supreme Court recently held, “[t]o

justify   and check”    the   President’s “unique     [authority]   in   our

constitutional structure,” Article II “render[s] the President directly

accountable to the people through regular elections.” Seila Law LLC v.

Consumer Financial Protection Bureau, 140 S. Ct. 2183, 2203 (2020). The

paramount public interest against executive tyranny is antithetical to

creating an absolute immunity from criminal prosecution that is so broad

that it would immunize a President who loses re-election but uses

criminal conduct in efforts to overturn the presidential election results.

      Moreover, part and parcel of Article II’s design for the Presidency

is specifying which officials determine the presidential election results.

The Executive Vesting Clause requires the President “be elected, as

follows . . . ” (Emphasis added). Under the immediately following Clause

2 of Section 1 of Article II, state law officials determine which candidate

won each state. Under Article II, Section 1, Clause 3, as reiterated by the




8     Every state has exercised its Article II powers to choose the popular
vote as the manner to elect a President. See Chiafalo v. Washington, 140
S. Ct. 2316, 2321-22 (2020).


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Twelfth Amendment, Congress and the Vice President have a narrow role

concerning the counting of electoral votes.

      It is logical to conclude that one key reason Article II did not assign

even a ceremonial role to a President concerning presidential election

results is that a President might try to avoid the ignominy of electoral

defeat through dishonesty or intimidation. It would turn Article II on its

head if absolute immunity were so broad that it encouraged a President

to engage in criminal conduct by deceiving or intimidating the officials to

whom, unlike the President, Article II assigns duties concerning

presidential election results. As Blassingame concluded, under Article II,

“‘every practicable obstacle’ was imposed to prevent ‘cabal, intrigue and

corruption’ from giving an incumbent President a structural electoral

advantage.” Blassingame, supra, at *12 (quoting Federalist No. 68, at 459

(Alexander Hamilton) (Jacob E. Cooke ed., 1961)).

      Third, because the “who” category protects Article II’s design for the

Presidency and presidential elections, it is not germane to this criminal

case that “an effort by one branch to interfere in another branch’s sphere”

is an indicator of official conduct. Blassingame, supra, at *19 (emphasis

added). It is to protect the Presidency itself—not another branch— that



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there should be no immunity from prosecution for a President’s criminal

efforts to violate the Executive Vesting Clause, whether through official

or unofficial acts. The “public interest,” Nixon v. Fitzgerald, 457 U.S. at

754, could not be higher in criminal prosecutions that preserve and

defend the provisions of Article II that design the Presidency itself and

presidential elections. Enforcing those provisions is essential to fulfilling

both Article II’s design and “the trust of a Nation that here, We the People

rule.” Chiafalo v. Washington, 140 S. Ct. 2316, 2328 (2020).

      Fourth, the “who” category involves the narrowest sliver of

potential criminal cases. Thus, unlike in Nixon v. Fitzgerald, recognizing

the inapplicability of presidential immunity here would not even

arguably “subject the President to trial on virtually every allegation that

an action was unlawful.” 457 U.S. at 756.

      B.   Under Former President Trump’s View Of Absolute
           Immunity, A Future President Could Disregard Current
           Criminal Restraints Against Using The Military To Alter
           Election Results.

      The Indictment alleges that former President Trump “attempted to

use the Justice Department to make knowingly false claims of election

fraud to officials in the targeted states through a formal letter under the

Acting Attorney General’s signature” that urged “the targeted states to

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replace legitimate Biden electors with the Defendant’s.” Indictment,

¶¶70, 75. See also id. ¶¶78-79, 84. The former President has argued

these were official acts because an Attorney General “is appointed by and

reports to the President.” D. Ct. Dkt. No. 74, at 33. Under this reasoning,

armed with absolute immunity, a future President would be incentivized

to enlist the Secretary of Defense to deploy the military to support efforts

to overturn that President’s re-election loss. Just like the Attorney

General, the Secretary of Defense is appointed by and reports to the

President.

      Absent absolute immunity, current criminal statutes deter a

President’s use of the military to alter presidential election results. In

addition to the statutory provisions underlying the Indictment, 18 U.S.C.

§ 593, for example, makes it a crime when “an officer or member of the

Armed Forces of the United States . . . imposes or attempts to impose any

regulations for conducting any general or special election in a State,

different from those prescribed by law, or . . . interferes in any manner

with any election officer’s discharge of his duties.” 9 Pursuant to 18 U.S.C.


9     A presidential election is actually an election in each of the 50
states. See Texas v. Pennsylvania, 141 S. Ct. 1230 (2020) (one state has
no “judicially cognizable interest in in the manner in which another State

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§ 2(a), a President would commit a crime if that President “aids, abets,

counsels, commands, induces, or procures” commission of an offense

under 18 U.S.C. § 593 (emphasis added); see also 18 U.S.C. § 2(b)

(criminalizing “[w]hoever willfully causes an act to be done which if

directly performed by him or another would be an offense against the

United States”) (emphasis added)); § 371 (criminalizing conspiracy “to

commit any offense against the United States”). In addition, 18 U.S.C. §

1385 makes it a crime when anyone “willfully uses any part of the Army,

the Navy, the Marine Corps, the Air Force, or the Space Force as a posse

comitatus or otherwise to execute the laws” except “in cases and under

circumstances expressly authorized by the Constitution or Act of

Congress.” 10




conducts its elections”); 3 U.S.C. § 1 (“The electors of President and Vice
President shall be appointed, in each State, on election day, in accordance
with the laws of the State enacted prior to election day.”).
10    Statutes like 18 U.S.C. §§ 593 and 1385 that govern the federal
military services apply to “[m]embers of the National Guard called into
Federal service.” 10 U.S.C. § 12405; see also, e.g., 10 U.S.C. § 10106 (“The
Army National Guard while in the service of the United States is a
component of the Army.”).


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      Absolute immunity from criminal prosecution, however, would

encourage a future President to disregard these criminal statutes and

deploy the military—or armed agents of the Departments of Justice or

Homeland Security—to prevent the counting of votes in an unfavorable

county or of a certain type (such as mail-in ballots) by seizing ballots or

voting machines. Such absolute immunity also would encourage that

President to use the military or armed federal agents to bar physically

his or her opponent’s electors from casting their electoral votes on the day

and in the place required by 3 U.S.C. § 7 and state law.

      These terrifying possibilities are real, not remote. Indeed, after the

Supreme Court refused to overturn the 2020 election results in Texas v.

Pennsylvania, there was a drumbeat of calls from allies of President

Trump for him to deploy the military to remain in power. The next day,

on December 12, 2020, Lin Wood appeared on Newsmax and stated: “If

the Supreme Court does not act, I think the president should declare

some extent of Martial law, and he should hold off an[d] stay the electoral

college . . . . [T]he electoral college does not need to meet and vote until

we have resolved these [fraud and illegality] issues.” Lin Wood to

Newsmax TV: Trump Should Declare Martial Law (Dec. 12, 2020),



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available at https://www.newsmax.com/newsmax-tv/lin-wood-martial-

law-georgia-brad-raffensperger/2020/12/12/id/1001228/.

      An executive order was drafted and dated December 16, 2020,

under which President Trump would have “order[ed]” that “the Secretary

of Defense shall seize” voting machines and records, including by using

federalized National Guard units. B. Swan, Read the never-issued Trump

order that would have seized voting machines, Politico (Jan. 21, 2022),

available at https://www.politico.com/news/2022/01/21/read-the-never-

issued-trump-order-that-would-have-seized-voting-machines-527572

(linking to draft order). According to Politico, the draft order was created

by a lawyer assisting Rudy Guiliani in efforts to overturn the 2020

election results. B. Swan, Read the emails showing Trump allies’

connections to voting machine seizure push, Politico (Feb. 9, 2022),

available   at   https://www.politico.com/news/2022/02/09/trump-emails-

voting-machines-election-00007449 (linking to December 16-17, 2020

emails).

      On December 16, 2020, former General and National Security

Advisor Michael Flynn and other allies of former President Trump

reviewed the draft order. Id. The next day, Mr. Flynn criticized the



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Supreme Court and simultaneously called for President Trump to seize

voting machines and deploy “military capabilities” to “rerun an election

in each of those [swing] states.” Michael Flynn to Newsmax TV: Trump

Has Options to Secure Integrity of 2020 Election (Dec. 17, 2020),

available   at     https://www.newsmax.com/politics/trump-election-flynn-

martiallaw/2020/12/17/id/1002139/ (linking to video).

      In response, on December 18, 2020, the Army’s Chief of Staff and

Secretary issued a public statement that “[t]here is no role for the U.S.

military in determining the outcome of an American election.” U.S. Army

Rejects Using ‘Martial Law’ on Election Fraud, Newsmax (Dec. 19, 2020),

available     at      https://www.newsmax.com/newsfront/election-fraud-

martial-law-army-no-role/2020/12/19/id/1002337/.      President     Trump,

however, promptly dispatched the Director of the White House

Presidential Personnel Office to inform the Acting Secretary of Defense

that the public statement of these Army officials “was entirely

unacceptable.” Jonathan Karl, Tired of Winning, 131, 133-34 (2023). That

evening, President Trump met with Flynn, Guiliani, and others for four

hours. Id. at 134.




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      On January 3, 2021, co-conspirator 4, a Justice Department official,

discussed potential use of military force purportedly under the

Insurrection Act. Indictment, ¶ 81. On January 15, 2021, Mike Lindell

carried notes into a meeting with President Trump that stated

“Insurrection Act now . . . martial law if necessary.” J. Alemany, J.

Dawsey, and T. Hamburger, Talk of martial law, Insurrection Act draws

notice of Jan. 6 Committee, Washington Post (Apr. 27, 2022) (emphasis

in            quoted             notes),           available              at

https://www.washingtonpost.com/politics/2022/04/27/talk-martial-law-

insurrection-act-draws-notice-jan-6-committee/. As late as January 17,

2021, Representative Marjorie Taylor Greene texted White House Chief

of Staff Mark Meadows that “several [members of the House] are saying

the only way to save our Republic is for Trump to call for Marshall [sic]

law.” Id.

      Even now, the real possibility that absolute immunity might

embolden tyrannical conduct by a President logically follows from the

discussion in former President Trump’s reply brief below about how,

during the dispute over the 1876 election, President Grant’s “official

actions [possibly] were criminal.” D. Ct. Dkt. No. 122, at 11-12. The clear



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import of that brief’s discussion is that, in the future, absolute immunity

for official conduct should bar prosecution of a former President who

“trailed greatly in the electoral college” and “dispatched federal troops to

states to ensure that” the electoral votes of those states were favorably

awarded. Id. at 11-13.

      If this Court adopts former President Trump’s view of absolute

immunity, future first-term Presidents would be encouraged repeatedly

to engage in despotic criminal conduct after election day to remain in

power illegitimately. In our divided nation, in the last eight presidential

re-election campaigns, the incumbent lost four times (1976, 1980, 1992,

and 2020), and won competitive races twice (2004 and 2012). No Court

should create a presidential immunity from criminal prosecution, even

for official acts, that is so vast that it endangers the peaceful transfer of

executive power that is mandated by the Executive Vesting Clause.

      C.   Rejecting Absolute Immunity Would Not Prevent Presidents
           From Vigorously Challenging Election Results.

      Like other presidential candidates, a sitting President’s rights to

challenge election results include both the First Amendment rights and

access to the courts that candidates Al Gore and George W. Bush

exercised in 2000. And, like any candidate, an incumbent President may


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not be prosecuted for employing means that fall outside criminal

statutes, including their mens rea elements. A President merely does not

have an additional absolute immunity so over-reaching that it

encourages criminal conduct employed in efforts to overturn presidential

election results.

      Take court challenges for example. Under Blassingame, at *2, not

even civil presidential immunity extends to court filings by a sitting

President as a candidate seeking to alter presidential election results.

The Indictment’s restrained treatment of former President Trump’s

many court filings contesting the 2020 election illustrates how,

notwithstanding the lack of absolute immunity, many other safeguards—

including First Amendment rights, access to the courts, and actus reus

and mens rea elements—fully enable a sitting President to make

vigorous challenges to election results.

      The Indictment acknowledges, for example, that as a candidate,

former President Trump was, among other efforts, “entitled to . . . fil[e]

lawsuits challenging ballots and procedures.” Indictment, ¶3. The former

President and his allies brought 64 court cases concerning vote counting

in Arizona, Georgia, Michigan, Nevada, Pennsylvania, and Wisconsin,



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including challenging the counting of mail-in ballots, the counting of

votes in counties Joe Biden was winning, voter eligibility, and campaign

observer access. See John Danforth, et al., Lost, Not Stolen: The

Conservative Case that Trump Lost and Biden Won the 2020

Presidential    Election,       at   3-5   (July   2022),      available    at

www.lostnotstolen.org.11 Even though myriad state and federal courts

thoroughly rejected both factual allegations and legal assertions in these

challenges, see id. at 14-15, 33-35, 44-46, 51-52, 59-63, 68-69 (citing

cases), the Indictment does not even mention 62 of these court challenges

as a basis for prosecution.12




11   Former Senator John Danforth’s co-authors were former Senator
Gordon H. Smith, former Judges Thomas B. Griffith, J. Michael Luttig,
and Michael W. McConnell, and Benjamin Ginsberg, David Hoppe, and
Theodore B. Olson.
12    The Indictment also does not mention two other failed court
challenges by former President Trump. First, the former President
moved to intervene in his personal capacity in an original proceeding in
the Supreme Court challenging the election results in Georgia, Michigan,
Pennsylvania, and Wisconsin. See Blassingame, at *2, 11-12. Second,
former President Trump’s campaign pursued an action in federal district
court in New Mexico challenging that State’s use of drop boxes for mail-
in ballots. See Donald J. Trump Campaign for President, Inc. v. Toulouse
Oliver, No. 1:20-cv-02189-MV-JHR (D.N.M.) (filed Dec. 14, 2020).

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      Only two paragraphs of the Indictment mention court filings. Both

filings contained factual statements that allegedly were known by former

President Trump to be false and allegedly were part of efforts to subvert

Georgia’s election results. On November 25, 2020, former President

Trump retweeted about a lawsuit that contained false allegations of

“massive election fraud” in voting machine software and hardware, even

though former President Trump allegedly had conceded privately that

these allegations were unsupported and “crazy.” Indictment, ¶20. And on

December 31, 2020, the former President signed a verification of a

lawsuit’s allegations after a co-conspirator allegedly had acknowledged

that the former President was aware that some of the factual allegations

were inaccurate. Indictment, ¶30. The Indictment thus confirms that

rejecting absolute immunity does not expose to prosecution here even

inaccurate and deeply flawed post-election day court challenges, except

where those challenges contained factual statements that the former

President allegedly knew were false and were employed as part of a

larger scheme of criminal conduct.

                              CONCLUSION

      This Court should affirm.



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December 12, 2023                Respectfully submitted,

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            CERTIFICATE OF COMPLIANCE WITH
    TYPE-VOLUME LIMITATION, TYPEFACE REQUIREMENTS,
             AND TYPE STYLE REQUIREMENTS

      1.    Pursuant to Fed. R. App. P. 29(a)(5), this brief complies with

the type-volume limitation of Fed. R. App. P. 32(a)(7)(B) and D.C. Cir.

Rule 32(e)(2) because this brief contains 5,730 words, excluding the

parts of the brief exempted by Fed. R. App. P. 32(f) and D.C. Cir. R.

32(e)(1).

      2.    This brief complies with the typeface requirements of Fed. R.

App. P. 32(a)(5) and the type style requirements of Fed. R. App. P.

32(a)(6) because the brief has been prepared in a proportionally spaced

typeface using Microsoft Office Word 365 with 14-point Century font.

                                     Respectfully submitted,

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      CERTIFICATE OF WHY SEPARATE BRIEF IS NECESSARY

      Counsel is aware of no other person, individual or group who sought

leave to file in the District Court an amicus brief supporting the

government’s opposition to absolute immunity. Counsel likewise is not

aware of any other potential amicus brief supporting appellee and

affirmance in this appeal. Accordingly, and in light of the expedited

schedule for this appeal, it is not practicable for the amici on this brief to

file a single brief with unknown other potential amici.



                             /s/ Richard D. Bernstein




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                      CERTIFICATE OF SERVICE


      I, Richard D. Bernstein, hereby certify that on December 12, 2023,

I caused a true and correct copy of the foregoing Amici Curiae Brief by

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                             APPENDIX A
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Investigative Counsel, Committee on Government Reform of the United
States House of Representatives, 1995-1999.

     John Danforth, United States Senator from Missouri, 1976-1995;
United States Ambassador to the United Nations, 2004-2005; Attorney
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      Mickey Edwards, Representative of the Fifth Congressional
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1    The views expressed are solely those of the individual amici and not
any organization or employer. For each amicus, reference to prior and
current position is solely for identification purposes.


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     J. Michael Luttig, Circuit Judge, United States Court of Appeals,
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      Keith E. Whittington, William Nelson Cromwell Professor of
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chaired Professor of Law, Yale Law School.

      Richard Bernstein, Appointed by the United States Supreme Court
to argue in Carmell v. Texas, 529 U.S. 513, 515 (2000); Montgomery v.
Louisiana, 136 S. Ct. 718, 725 (2016).




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